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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA,                   )
                                            )
v.                                          )
                                            )      Crim. No. 17-201-01 (ABJ)
PAUL J. MANAFORT, JR.,                      )
                                            )
              Defendant.                    )


                   DEFENDANT PAUL J. MANAFORT, JR.’S
                MOTION TO MODIFY CONDITIONS OF RELEASE

       Paul J. Manafort, Jr., by and through counsel, hereby moves the Court to modify

the conditions of release as outlined below. Counsel for Mr. Manafort and the Office of

Special Counsel (“OSC”) have conferred, and the parties agree that the conditions of

release set forth below will reasonably assure the appearance of Mr. Manafort as

required. See 18 U.S.C. Section 3142(b) and (c).

       I.     Background

       The current conditions of release for Mr. Manafort include, among other things, a

$10 million unsecured appearance bond, home confinement in Alexandria, VA, and GPS

monitoring.   The Court has previously indicated that it is willing to consider

modifications to the conditions of release imposed on Mr. Manafort (and the co-

defendant, Mr. Gates) regardless of whether the parties have reached agreement. Mr.

Manafort advises the Court that an agreed-upon bail package has been reached with the

OSC to release the Defendant from home confinement and GPS monitoring. The parties

agree that the bail package set forth below satisfy the requirements of the Bail Reform

Act.



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        II.     Proposed Conditions of Release

        The Defendant will execute an agreement to forfeit four (4) separate real

properties if there is a bail violation with a total estimated net value (i.e., fair market

value less encumbrances) of approximately $11.65 million. The OSC has agreed that the

properties posted provide the reasonable assurance required under the Bail Reform Act.

Liens will be placed on each property in favor of the Court to reasonably assure Mr.

Manafort’s appearance as required. The real estate properties, and their estimated net

asset values, are:

        Jobs Lane, Bridgehampton, NY:                       $4.00 million

        Baxter Street, New York, NY:                        $3.70 million

        St. James Drive, Palm Beach Gardens, FL:            $1.25 million

        Fairfax Street, Alexandria, VA:                     $2.70 million

        Three of these real properties are residences owned by Mr. Manafort and his wife,

Kathleen. The Baxter Street property is co-owned by Mr. Manafort, Mrs. Manafort, and

their daughter, Andrea. Documents establishing the ownership interests in these real

properties, the estimated fair market value of the realty being pledged, and any

encumbrances on the real estate (such as mortgages) have been previously provided to

the OSC for review and are attached for the Court’s consideration. (See Attachments A

through D). Where property is held jointly with another person, that individual has

agreed to execute the necessary forms to forfeit the property should Mr. Manafort not

appear as required (including a waiver of the Florida homestead exemption).            Mr.

Manafort and any joint owners also agree that they will not further encumber these

properties, and Mr. Manafort will commit to keep current on any outstanding mortgages.



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       In addition, the Defendant has arranged for sureties on his appearance bond. Mrs.

Manafort has agreed to serve as a surety for the entire amount of the bond.             Mr.

Manafort’s daughter will serve as a surety with respect to the net asset value of the Baxter

Street property for which she is a part-owner. Immediate family members are therefore

personally responsible for substantial payments to the Court should Mr. Manafort not

appear as required and should the fair market value of the pledged properties fall below

what has been documented. These individuals have agreed to execute the required

paperwork before the appropriate official upon the Court’s approval of the modified

conditions of release. (See Attachments E, F, G and H).

       The OSC has contended previously in its filings and in court that the Defendant’s

foreign travel poses a risk.     Accordingly, Mr. Manafort has agreed not to travel

internationally and not to apply for international travel documents (e.g., visas) while on

release. He has provided the OSC with all his passports. Additionally, Mrs. Manafort

has agreed to turn over her passport. The parties acknowledge that attempting to travel

internationally without the requisite documentation would be very difficult.

       In terms of his domestic travel, the parties agree that Mr. Manafort will be

restricted in travel to Florida (his state of residence and where he conducts business),

Virginia (where he is currently subject to home confinement) and New York (where he

maintains a residence and conducts business). Travel to and from these locations to the

District of Columbia, where the instant case is pending, is also permissible. Travel

within the United States to other jurisdictions (e.g., for a potential business meeting)

would be permissible only upon application to and approval by the Court. Further, Mr.

Manafort agrees to report on a regular basis to the District of Columbia Pretrial Services



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Agency, he will provide the agency with a travel itinerary for domestic travel plans at

least 24 hours in advance of such travel with the precise dates and times, and he will

contact the Pretrial Services Agency upon departure and arrival and provide any other

information otherwise required by the agency. The parties agree that the implementation

of these conditions of release, and any other standard release conditions that the Court

may impose, will reasonably assure Mr. Manafort’s appearance as required, and that his

continued home detention in Alexandria, VA, and the attendant GPS monitoring should

be terminated.

       III.      Discussion

       The Bail Reform Act instructs the judicial officer to implement the “least

restrictive” condition, or combination of conditions, that will reasonably assure the

appearance of the person as required. See 18 U.S.C. Section 3142(c)(1)(B). In this

regard, it is important to note that “Section 3142 speaks only of conditions that will

“reasonably” assure appearance, not guarantee it.” United States v. Xulum, 84 F.3d 441,

443 (D.C. Cir. 1996) (per curiam).

       In the case at bar, the parties have agreed that the above-identified proposed

conditions of release will reasonably assure Mr. Manafort’s appearance as required. The

OSC agrees that a package which includes “substantial financial conditions and travel

restrictions, among others” would mitigate the perceived risk of flight.             (See

Government’s Memorandum in Support of Conditions of Release, Complex Case

Designation and Notice of Intent to Use Certain Bank Records at 13). Mr. Manafort’s

current home confinement to his Alexandria residence – set during his initial appearance

in this case – was viewed as a short-term interim step by the parties as they continued to



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work out agreed-upon conditions of release to recommend to the Court. And, to be clear,

GPS monitoring was never sought nor requested by either party.

       At this point, the parties have agreed upon the substantial financial conditions,

travel restrictions and other conditions to recommend to the Court relating to Mr.

Manafort’s pretrial release. More particularly, the Defendant (and his immediate family)

have agreed to forfeit approximately $11.65 million in real estate assets to the Court

should Mr. Manafort not appear as required. This amount is a substantial portion of the

Defendant’s assets accumulated over a lifetime of work and is $1.65 million more than

the unsecured appearance bond currently in place. These assets will not be further

encumbered during the pendency of this case and a lien in favor of the Court will be

placed on them while this matter is ongoing. In addition, the Defendant’s wife and

daughter will serve as sureties on Mr. Manafort’s appearance bond, as noted above, and

they will be personally liable should Mr. Manafort not appear as required and if there is a

diminution in the fair market value of the properties pledged.           Simply put, Mr.

Manafort’s family would face severe economic consequences if he were not to appear as

required.

       In addition to the substantial financial conditions, Mr. Manafort has also agreed

with the OSC to significant travel restrictions.      First, he will not seek to travel

internationally.   Although for some this might not seem consequential, it must be

remembered that Mr. Manafort has been an international political consultant for many

years. He has substantial business and business contacts overseas, and this restriction

will undoubtedly affect his ability to secure and retain work from abroad. Second, he

agrees to limit domestic travel to Florida, Virginia, New York and the District of



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Columbia (where this case is pending). If Mr. Manafort has business anywhere else in

the United States, he must seek the Court’s permission to travel to that location and

obtain its approval.   Further, with respect to any permissible domestic travel, Mr.

Manafort agrees to abide by any reporting requirements imposed by this Court or a

Court-designated agency.

       Both parties agree that these substantial financial conditions and travel

restrictions, in addition to any other standard conditions of release that the Court may

wish to impose, will reasonably assure the Defendant’s appearance as required. The

termination of his home confinement in Alexandria, VA, and its attendant GPS

monitoring (per Pretrial Services protocols), will permit Mr. Manafort to conduct his

business and mount his defense of this case.

       WHEREFORE, Defendant Manafort moves to modify his current conditions of

release as outlined above.

Dated: November 28, 2017                            Respectfully submitted,



                                                    ______________________________
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